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                             IN THE SUPERIOR COURT OF FULTON COUNTY
                                        STATE OF GEORGIA

CAN JIN a/k/a DAVID CHO I and SONG
SEN CU I

              Plaintiffs,                                         CIVIL ACT ION
                                                                  F I LE NO. 2009CV 169015
vs .

TERRACE MORTGAGE COMPANY,
GMAC MORTGAGE, LLC .,
CITIFINANCIAL SERVICES, INC .,
MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC ., and
DOES 1-10, inclusive

              Defendants .

                              NOTI CE OF F I LING N OT I CE OF REM OVA L


TO : [CATHELENE "TINA" ROBINSON]
      Clerk of Superior Court
              Lewis Slaton Courthouse, Room C-155
              136 Pryor Street S .W .
              Atlanta, GA 30303

              Irene Kim
              GEERDES AND KIM, LLC
              3483 Satellite Blvd .
              Suite 221 South
              Duluth, GA 30096


              Please take notice that on June 19, 2009, Defendants GMAC Mortgage, LLC and

Mortgage Electronic Registration Systems, Inc ., filed with the Office of the Clerk of the United

States District Court for the Northern District of Georgia, Atlanta, Division, a Notice of

Removal . A copy of the Notice of Removal is attached hereto as Exhibit A .

              This 19th day of June, 2009 .




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Case 1:09-cv-01640-ODE Document 1-1 Filed 06/19/09 Page 2 of 40



                           Respectfully submitted,

                           LOCKS LORD BISSELL & LIDDEL , L LL P

                                                     i

                           B   Y                     4    ~~--F-_ --
                                   Paul T . K i m
                                   Georgia Bar No . 418841
                                   LOCKS LORD BISSELL & LIDDELL LLP
                                   The Proscenium, Suite 1900
                                   1170 Peachtree Street, N .E .
                                   Atlanta, GA 30309
                                   Phone : 404-870-4600
                                   Fax : 404-872-5547
                                   pkiln@ lockeiord _ co m

                                   A TTORNEYS FOR DEFENDANTS GMA C
                                   MORTGA GE, LLC and MORTGAGE
                                   ELECTRONIC RE GISTRA TION SYSTEMS,
                                   INC.




                                   -z-
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                                CERTI FICA T E O F SE RVICE

       The undersigned certifies that on June 19, 2009, a true and correct copy of the foregoing

document was served via certified mail, return receipt requested upon the following :

        Irene Kim                                    Christopher J . Willis
        GEERDES AND KIM, LLC                         John K . Larkins III
        3483 Satellite Blvd .                        2700 International Tower
        Suite 221 South                              229 Peachtree Street, N .E .
        Duluth, GA 30096                             Atlanta, GA 30303
        Tel : 404-257-1777                           Tel : 404-420-4700
        Fax : 404-257-1050                           Fax : 404-525-2224

        Counsel for Plaintiff                        Counsel for De/endant CitiFinancial Services,
                                                     Inc
                                                     .




                                                       Paul T . Kim




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                                                                          U .S .D.C . Atlan ~a

                                                                          JUN 19 2009
                                                                     JAMES H T~'~l~, Clerk
                                                                     ~`              ~8cpet~j clerk
                  IN THE UN ITED STATES DI STRI CT COUR
                 FOR THE NORTHERN DISTRICT OF GEOR I A
                             ATLANTA DIVISION


CAN JI N a/k/a D AVID CHO I and
SO NG SEN CUI,

         Plaintiffs ,
                                                       1 09-"V
                                                         .1640
V   S.                                        C IVIL ACTIO N NO.
TERRACE MORTGAGE CO .,
GMAC MORTGAGE, LLC,
CITIFINANCIAL SERVICES,
INC ., MORTGAGE ELECTRONIC
REGISTRATION SYSTEMS, INC .,
and DOES 1-10, inclusive,

            Defenda nts.


                              NOTI CE OF RE MO VAL

         Pursuant to 28 U .S .C. § § 1331, 1367, 1441 and 1446, Defendants GMAC

Mortgage, LLC ("GMACM") and Mortgage Electronic Registration Systems, Inc .

("MERS") (collectively "Removing Defendants") hereby remove this case from

the Superior Court of Georgia, Fulton County, to the United States District Court

for the Northern District of Georgia, Atlanta Division, and respectfully state as

follows :




NOTICE oF REMOVAL                                                                   P AGE I       /~
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                          STATEMENT OF THE CASE

       1 . On May 12, 2009, an action was commenced in the Superior Court of

Georgia, Fulton County, entitled Can Jin alk/a David Choi and Song Sen Cui v .

Terrace Mortgage Co ., et al ., Case No. 2009-CV-169015 (the "State Court

Action") . True and accurate copies of the summons and complaint in the State

Court Action (the "Complaint") are attached hereto as "Exhibit A ."

       2. GMACM was served with a copy of the Complaint on May 22, 2009 .

MERS was served with a copy of the Complaint on May 22, 2009 . This Notice of

Removal is being filed within 30 days of receipt of the Complaint . Removal is

therefore timely in accordance with 28 U .S .C . § 1446(b) .

       3 . The Complaint purports to assert ten causes of action, identified

and/or generally alleged as follows : (1) violation of the Georgia Uniform

Deceptive Trade Practices Act, (2) violation of the Georgia Residential Mortgage

Act, (3) breach of imputed duty per Georgia Fair Business Practices Act, (4) fraud,

(5) fraud in the inducement, (6) conversion, (7) quiet title, (8) civil conspiracy, (9)

violation of Georgia Racketeer influenced and corrupt Organizations Act

("Georgia RICO"), and (10) petition for interlocutory injunctive relief .




NOTICE OF R EMOVAL                                                               PAGE. 2
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                          FEDERAL Q UESTIO N JURISDICTION

         4. This Court has jurisdiction over this matter under 28 U .S .C . § 1331

because Plaintiffs' claims arise under the laws of the United States . The Supreme

Court has held that "a case `arose under' federal law where the vindication of a

right under state law necessarily turned on some construction of federal law .

Franchise Tax Bd. v. Construction Laborers Vacation Trust, 436 U .S . ] , 9 (1983) .

Further, as the Eleventh Circuit has recognized, federal question jurisdiction arises

where a party has asserted an action under Georgia RICO and the underlying

violations involved federal mail fraud . Ayres v . General Motors Corp ., 234 F.3d

514, 517-18 (11th Cir . 2000) .

         5.       Here, Plaintiffs have alleged federal mail fraud as part of the alleged

RICO scheme . See Exhibit A, 1192 .           Accordingly the resolution of this matter

turns upon federal questions, and this Court has jurisdiction .

         6 . Pursuant to 28 U.S .C . § 1367(a), this Court has supplemental

jurisdiction over the state law and common law claims asserted by Plaintiffs

because those claims asserted form part of the same case or controversy .

         7 . Defendants GMACM and MERS have consented to the removal of

this action .




NOTI C E OF R E MO VA L                                                            PAGE 3
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       8 . Defendant CitiFinancial Services, Inc ., who filed an Answer on June

15, 2009 in the State Court Action, also consents to this removal . See "Exhibit B"

hereto .

       9.        Upon information and belief, no other defendants have been served in

this action, as no return of service has been filed with the Superior Court of

Georgia, Fulton County as of June 18, 2009, or are nominal or unknown

defendants, and therefore, additional consent to this removal is not required . See

Tri-Cities Newspapers, Inc . v. Tri-Cities P.P. & A Local 349, 427 F.2d 325, 326-27

(5th Cir. 1970); Salveson v. Western States Bankcard Assn, 731 F.2d 1423, 1429

(9th Cir. 1984) . Accordingly, all properly served and joined defendants, excluding

nominal, unknown and fraudulent joined parties, have consented to this Notice of

Removal .

           1 0. Venue is proper in this Court pursuant to 28 U .S .C . § 1441(x) because

the United States District Court for the Northern District of Georgia, Atlanta

Division, is the federal judicial district and division embracing the Superior Court

of Georgia, Fulton County, where the State Court Action was originally filed .

           11 . Pursuant to 28 U .S .C. § 1446(a), a true and correct copy of all the

process, pleadings, and orders on file in the State Court Action or served on the

Removing Defendants are attached collectively hereto as "Exhibit C ."



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                                  CONCLUSION

       WHEREFORE, Defendants GMACM and MERS hereby remove this Action

from the Superior Court of Georgia, Fulton County to the United States District

Court for the Northern District of Georgia, Atlanta Division . By this Notice of

Removal and the associated attachments, Removing Defendants do not waive any

objections they may have as to service, jurisdiction or venue, or any other defenses

or objections they may have to this action . Removing Defendants intend no

admission of fact, law or liability by this Notice, and expressly reserve all

defenses, motions and/or pleas . Removing Defendants pray that the State Court

Action be removed to this Court, that all further proceedings in the State Court

Action be stayed, and that Removing Defendants receive all additional relief to

which they are entitled .




NOTICE OF REMOVAL                                                              PAGE 5
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       This the 19th day of June, 2009 .




                                    Respectfully submitted,



                                    Paul T . Kim
                                    Georgia Bar N o . 418841
                                    LOCKE LORD BISSELL & LIDDELL, LLP
                                    The Pro s cenium, Suite 1900
                                    11 70 Peachtre e Street, NE
                                    Atlanta, GA 30309
                                    (404)-870-4678 - telephone
                                    (404)-872-5547 -facsimile
                                    pkim@lockelord . com

                                    Attorneys for Defendants GMAC MORTGAGE,
                                    LLC and MORTGAGE ELECTRONIC
                                    REGISTRATION SYSTEMS, INC .




NOTI C E OF REMOVAL                                                       PAGE 6
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                      CERTIFICATE OF COMPLIANCE

       The undersigned counsel hereby certifies that this Notice of Removal was

prepared using Time New Roman 14 point, in accordance with L . R . 5 . l (B).



                                 G - -'7Jl -,!!!!:_~~ -- - - - -
                                   Paul T . Kim
                                   Georgia Bar No . 418841
                                   LOCKE LORD BISSELL & LIDDELL, LLP
                                   The Proscenium, Suite 1900
                                   1170 Peachtree Street, NE
                                   Atlanta, GA 30309
                                   (404)-870-4678 - telephone
                                   (404)-872-5547 -facsimile
                                   pkim@lockelord .com

                                   Attorneys for Defendants GMA C MOR TGA GE,
                                   LLC and MORTGAGE ELECTRONIC
                                   REGISTRATION SYSTEMS, INC .




NOTICE OF REMOVAL                                                               }'AGE 7
      Case 1:09-cv-01640-ODE Document 1-1 Filed 06/19/09 Page 11 of 40




                          CE RTIFICATE OF SE RVICE

       The undersigned certifies that on June 19, 2009, a true and correct copy of

the foregoing document was served via U .S . certified mail, return receipt

requested, upon the attorney for Plaintiffs at the following :

        Irene Kim, Esq .                     Christopher J, Willis
        Geerdes and Kim, LLC                 John K. Larkins III
        3483 Satellite Blvd .                2700 International Tower
        Duluth, Georgia 30096                229 Peachtree St ., NE
        (404) 257-1777                       Atlanta, GA 30303
        (404)-257-1050 (fax)                 Dir. : (404) 420-4700
                                             Fax: (404) 525-2224

         Counsel for Plaintiff               Counsel for Defendant CitiFinancial
                                             Services, Inc.


                                                         w       ~

                                       Paul T . Kim




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                  IN THE SUPERIOR COURT OF FULTON COUNTY

                                       STATE OF GEORGIA


  CAN JI *I a/k/a DAVID CHOI and
  SONG SEN CU I,

                         Plaintiffs,
                                                        Civil Action No-,   ~ -o O R cry/ 6 g 01 ,5
                                                                             CP
         vs .


  TERRACE MORTGAGE COMPANY,
  GMAC MORTGAGE, LLC .,
  CITIFINANCIAL SERVICES, INC .,
  MORTGAGE ELECTRONIC
  REGISTRATION SYSTEMS, INC ., and
  DOEs 1-10, inclusive

                         Defendants


                                       COMPLAINT

         Plaintiffs, CAN JIN a/k/a DAVID CHOI and SONG SEN CUT, (both are

 hereafter referred to as "Plaintiff'), by and through attorney, hereby files this complaint

  against Defendants TERRACE MORTGAGE COMPANY, GMAC MORTGAGE, LLC .,

 CITIFINANCIAL SERVICES, INC ., MORTGAGE ELECT RONIC REGISTRATION

 SYSTEMS, INC and DOES 1 through 10, inclusive, (hereinafter collectively known as

 "defendants") alleging and showing the Court the following :

                                           PARTIES

S . Plaintiff currently owns property located at 220 Henley Place, Duluth, Georgia,

 Fulton County, 30047 (hereinafter "Subject Property") .



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                      COMPLAINT FOR DAMAGES AN D EQUITABLE RELIEF
 Case 1:09-cv-01640-ODE Document 1-1 Filed 06/19/09 Page 13 of 40
                                                                  i




2. Upon information and belief, Defendant, TERRACE MORTGAGE COMPANY,

  at all times mentioned herein, regularly conducts business in and throughout the State of

  Georgia.

3 . Upon information and belief, Defendant, GMAC MORTGAGE, LLC ., at all

  times mentioned herein, regularly conducts business in and throughout the State of

  Georgia.

4. Upon information and belief, Defendant, CITIFINANCIAL SERVICES, INC ., at

  all times mentioned herein, regularly conducts business in and throughout the State of

  Georgia.

5 . Upon information and belief, MORTGAGE ELCTRONIC REGISTRATION

  SYSTEMS (hereinafter referred to as "HERS") regularly conducts business in and

 throughout the State of Georgia.

6. Plaintiff is ignorant of the true names and capacities of defendants sued as DOES

  1-10, inclusive, and therefore sues these defendants by such fictitious names . Plaintiff

 will amend this Complaint to allege their true names and capacities when ascertained .

7 . Plaintiff is informed and believes, and based on information and belief, alleges

 that at all times mentioned in this complaint defendants were agents, servants, partners

 and/or employees of co-defendants, and in doing the actions mentioned below were,

 unless otherwise alleged, within the course and scope of their authority as such agent,

 servant, partner, and/or employee with the permission and consent of co-defendants .

8 . Any allegations about acts of any corporate or other business defendant means

 that the corporation or other business did the acts alleged through its officers, directors,

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                      COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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  employees, agents and/or representatives while they were acting within the actual or

  ostensible scope of their authority and/or within the scope of their agency if acting as an

  agent of another.

 9 . Plaintiff believes and is informed and, on that basis, alleges that each of the said

  defendants, including the DOE defendants, were in some manner legally responsible for

  the unlawful actions, unlawful policies, and unlawful practices, complained of herein .

  Each defendant committed the acts alleged in this Complaint .

10 . Additionally, each defendant knew or realized that the other defendants were

  engaging in or planned to engage in the violations of law alleged in this Complaint .

  Knowing or realizing the other defendants were engaging or planning to engage in

  unlawful conduct, each defendant nevertheless facilitated and even directed or assisted in

  the commission of the unlawful acts . Each defendant intended and did encourage,

  facilitate, or assist in the commission of the unlawful acts, and thereby aided and abetted

  the other defendants in the unlawful conduct . Plaintiff will amend this Complaint to set

  forth the true names and capacities of said Defendants, along with the appropriate

  charging allegations when the same have been ascertained .

11 . At all relevant times, defendants have engaged in a conspiracy, common

  enterprise, and common course of conduct, the purpose of which is and was to engage in

  violations of law alleged in this Complaint . This conspiracy, common enterprise, and

  common course of conduct continue to the present .




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                       COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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12 . Whenever reference is made in this Complaint to any act of any defendant(s), that

       allegation shall mean that each defendant acted individually and jointly with the other

       defendants .

13. Venue and jurisdiction is proper in this court because injury and damage to

       Plaintiff occurred in its jurisdictional area, the property is located in this jurisdictional

       area and the unlawful practices were committed in this jurisdictional area .

                                      GENERAL ALLEGATIONS

14 . This action is brought against Defendants, who unlawfully committed deceptive

       and unfair business practices, fraud, fraud in the inducement, conversion, cloud on title,

       and defamation, warranting remedies and judgment at law for damages as well as

       equitable injunctive relief.

15 .           Defendants are mortgage lenders, servicers and/or trustees . Defendants'

       residential lending business model consists of making as many residential loans and/or

       loans made to borrowers with limited or impaired credit .

16 .           Defendants did business as wholesale lenders . That is, mortgage brokers, under

       contracts with Defendants and working closely with defendants' sales representatives,

       originated loans which were underwritten by defendants .

17. Defendants sold a majority of their residential loans to the secondary market, that

       is, third-party investors or qualifying special-purpose entities that issue interest-bearing

       securities representing the loans' interest stream, After selling the loans for securitization

       or to third-party investors, defendants typically were required to repurchase those loans



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                             COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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   only in limited circumstances, for instance, in the event of documentation errors,

   underwriting errors, fraud, or early payment defaults .

18.     ' While Defendants claimed to maintainn underwriting guidel ines that assessed the

   ability of the Plaintiff to repay debt, they purposefully relaxed their underwriting

   guidelines and sold a risky loan product to Plaintiff to increase their loan origination

   volume . Defendants' underwriting standards eventually grew so lax that in many

   instances, its underwriters took no meaningful steps to determine whether borrowers like

   the Plaintiff could actually repay a loan for the purpose of funding higher loan volumes

   for leveraged returns .

19 . Defendants violated and ignored the law by failing to clearly and conspicuously

   disclose to Plaintiff key provisions of Plaintiff's mortgage, including but not limited to

   such details of adjustable interest rate, specific loan terms, and the total dollar amount the

   mortgage will cost over time .

20 . Defendants violated the law when it provided undisclosed financial incentives,

   fees, payments and other things of value to its agents, account executives, loan officers,

  and brokers marketing and selling its product, said payment and incentives constituting a

  prohibited kickback, referral fee or other things of value .

21 . Defendants' business model of making loans for quick resale rendered defendants

  indifferent to whether Plaintiff could afford the loan beyond defendants' exposure period

  to risk . This risk period was in effect only as long as it was required to sell the loan to the

  secondary market. This indifference translated into defendants maximizing loan resale

  profits through funding unfair and exceedingly risky loan products, engaging in unfair




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   underwriting practices, and conducting deceptive loan sales practices through its own

   conduct and the conduct of mortgage brokers, in order to sell an illegal and fraudulent

   loan to the unsuspecting Plaintiff.

22 . Defendants focused on creating unduly risky loans for profitability . Defendants

   received fees not only for originating loans but for reselling pre-packaged loan bundles or

   securities at a guaranteed rate of return . Due to defendants' compensation structure and

   policies, employees, brokers, loan officers, and related defendants were encouraged to

   steer Plaintiff into costly mortgages with higher interest rates and for a larger amount in

   order to maximize their profits . To support Plaintiffs application for the unduly risky

   loan, defendants through its employees, agents, sale representatives and the mortgage

   brokers and appraisers inflated the appraised value of the applicant's home . The

   defendants, intentionally or recklessly, failed to verify or audit the information and

   avoided implementing reasonable measures that would have prevented or limited these

   fraudulent practices .

23 . To further increase the Defendants' revenue, Plaintiff's loan was not designated

   for long-term viability . This business model relied on perpetual increase in Plaintiff's

   home valuation . As soon as the housing market flattened Pla intiff incurred substantial

   negative equity in the property .

   11 . Defendants failed to maintain fair, prudent and truthful underwriting standards,

  wrongfully motivated by the profits to be made in the secondary market rather than the

  actual ability of the borrower to repay .




                            CO M PLA I NT FOR DAMAGES AND EQUITABLE RELIEF
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12. Plaintiff was targeted for a loan that held maximum profitability value, which

meant the costliest, riskiest loan for the Plaintiff, with little or no long-term viability .

13 . Defendants failed to take reasonable precautions to make certain the Plaintiff

understood the actual terms, risks, and consequences of their loan, and in fact obstructed

the process of a borrower obtaining the necessary information to make the most prudent

decision possible . Plaintiffs application for the unduly risky loan was further aided by

inflated appraisals and lax quality control .

14 . Defendants as mortgage lenders, investors and wholesalers, and as a pattern and

deliberate practice, focused on creating massive amounts of unduly risky residential

mortgage loans ("RML") for profitability . This is because Defendants' income stream

came not only from fees for originating loans but then selling, assigning, and/or

transferring the loans . As such, Defendants maintained very little risk and only in limited

circumstances such as documentation errors, underwriting errors, fraud, or early payment

defaults . In turn, Defendants bore little monetary cost and received optimal financial

benefit for inducing consumers to take the most expensive loans possible with little

limitations as to qualifications .

16 . An aspect of this systematic misconduct was the Defendants' compensation

structures and policies for employees, brokers, loan officers, and related Defendants,

They were encouraged and duly rewarded to steer Plaintiff to larger principal loan

amounts in order to maximize their own profits .




                      COMPLAI NT FOR DAMAGES A N D EQUITABLE RELIEF
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   17. Furthermore, in order to support Plaintiff's application for the unduly risky loan,

   Defendants by and through their agents, employees and contracted appraisers, inflated the

   appraised value of the loan applicant's home .

   18.     Essentially, Defendants' business model relied on a perpetual increase in

   Plaintiff's home valuation because many loans such as Plaintiffs were at or near 100%

   loan to value . As soon as the housing market flattened, Plaintiff incurred substantial

   negative equity in his home . Additionally, through Defendants' policies of choosing the

   appraiser and hiring only appraisers that would appraise the value of the property at

   whatever the Defendants' loan called for, Defendants could increase the property value

   and therefore increase the loan amount subsequently raising their fees in the process .

   Also, by increasing the value of the loan, Defendants would be able to resell the loans at

   a higher price to increase their profit margins .

   19 . Defendants created residential mortgage loans (hereinafter "RML") that

   Defendants sold to Plaintiff with the intent and design to fraudulently and negligently

   maximize profits .

   20. The Defendant induced Plaintiff to accept Defendants' risky loan by misleading

   and false statements, and withholding of material information.

   21 . The Defendants knew or should have known that Plaintiff's loann was not viable

   and would likely to result in foreclosure, due to Defendants' acts, intentions and designs .

24 . In furtherance of their deceptive and illegal practices, defendants worked with

   appraisers and other agents to inflate the value of borrowers' homes, including the

  Plaintiffs home- Through defendants' policies of choosing the appraiser and hiring only

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   appraisers that would appraise the value of the property at whatever the defendants' loan

   called for, defendants could increase the property value and therefore increase the loan

   amount subsequently raising their fees in the process . By increasing the value of the loan,

   defendants would be able to resell the RML at a higher price to increase their profit

   margins .

25 . The defendants knew or should have known that Plaintiff's loans would likely

   result in default and foreclosure, particularly in light of their qualification of Plaintiff's

   ability to pay based only on their ability to pay and their reliance on serial refinancing,

   which in turn relied on a false assumption of perpetual home price appreciation .

   Defendants' lack of underwriting standards also contributed to the inability of the

   Plaintiff to pay his loan long-term by intentionally or neglecting to adequately review

   borrowers financial and employment documentation .



   I . DEFENDANTS ENCOURAGED MORTGAGE BROKERS UNFAIR AND
   DECEPTIVE CONDUCT BY REWARDING BROKERS WHO SOLD RISKY
   AND INAPPROPRIATE LOAN PRODUCTS WITH LITTLE OR NO
   DOCUMENTATION AND PROVIDED NO MEANINGFUL OVERSIGHT OF
   BROKERS CONDUCT WITH RISK LACED INCENTIVES .


26 . Defendants further exacerbated the unfair and deceptive loans described above by

   relying on third party mortgage brokers to sell its loans . Defendants induced and

  rewarded these mortgage brokers to originate unduly risky, inappropriate, and in some

   cases, fraudulent, loans while failing to monitor these brokers' sales and underwriting

  conduct in a meaningful way.


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                         COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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27. Driven by its push for market share and profits, defendants did whatever it took to

   sell more loans, faster - including easing its underwriting criteria and disregarding

   minimal oversight of mortgage brokers . By easing and disregarding its underwriting

   criteria, defendants increased the risk that borrowers like Plaintiff would- default and lose

   their home .

28. For example, defendants, mortgage brokers, and their agents eased their

   underwriting standard by allowing low, stated, and no documentation loans.

   Traditionally, lenders required borrowers seeking mortgage loans to document their

   income by providing W-2's or tax returns or other documents such as bank statements,

   asset statements, and pay stubs . Defendants, however, disregarded such documentation

   requirements with respect to its riskiest and costly loan products and introduced a variety

   of reduced or no documentation loan programs that eased and quickened the loan

   origination process . Further, they would allow Stated Income Stated Assets "SISA"

  programs where a borrower's income and assets were stated but not verified at or nearly

  at 100% loan to value, which was the case in Plaintiff's loan application .

29 . These low and no documentation programs, such as SISA, enabled defendants

  and their brokers to process loans more quickly and therefore to originate more loans .

  Stated income loans also encouraged the overstating of income - loan brokers and

  officers either overstated the borrowers' income without their knowledge, or led

  borrowers into overstating their income without explaining the risk of default that the

  Plaintiff would face with a loan and monthly fees they could not actually afford .



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30 . Defendants and their brokers also relaxed traditional underwriting standards used

   to separate acceptable from unacceptable risk in order to produce more loans for the

   secondary market . Traditionally, the depth of credit and thereby worthiness of borrowers

   played a crucial role in determining whether they could obtain a loan . However, as the

   pursuit of profits became the primary goal of defendants, the credit score itself became

   most important - the threshold number becoming lower and lower - with disregard for

   the borrowers' future ability to pay based on previous payment habits . Further,

   defendants and their brokers began disregarding the importance of loan-to-value ratios,

   debt-to-income ratios, and other factors designed to protect borrowers and borrowers'

   ability to pay within their means for the entire lifetime of the RML .

31 . Due to the fact that riskier and higher loan amounts would produce a greater

   financial reward to defendants, they encouraged and incentivized brokers to focus on

  producing only those loans . As discussed previously, part of this structure was higher

  commissions and other incentives to mortgage brokers who provided large and risky

  loans . In return, the defendants passed on the excess compensation to the borrower by

  way of increased origination fees, higher interest rates, and/or larger credit spreads above

  the index value .

32. To further encourage brokers and agents to bring in more RML's, defendants

  provided little to no oversight of broker's conduct . As long as brokers provided loans that

  defendants could sell to the secondary market, defendants had the financial incentive to

  continue receiving loans regardless of the documentation, or lack thereof, on the RIv1L's .



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                        COMP L AINT FOR DAMAGES AND EQUITABLE RELIEF
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33 . Also, to further the deceptive scheme, defendants created a high-pressure sales

   environment that propelled its mortgage brokers to meet high production goals and close

   as many loans as they could without regard to Plaintiff's ability to repay . Defendants'

   high-pressure sales environment also propelled mortgage brokers to sell the risky and

   costly types of loans, many times inappropriate for the borrowers . This system of

   compensation aided and abetted brokers in breaching their trust to borrowers by inducing

   borrowers like Plaintiffs to accept unfavorable loan terms without full disclosure of the

   borrowers' options and also compensated brokers beyond the reasonable value of the

   brokerage services they rendered,

                               SPECIFIC ALLEGATIONS

34 . Plaintiff originally purchased the Subject Property for $354,000 .00 in February of

   2006 . To finance the purchase, Plaintiff was induced into obtaining a mortgage for

   $354,000 .00 .

35 . In April of 2007, Plaintiff was induced into getting a home equity line of credit

   from Citifinancial Services, Inc ., for $15,858 .86, at 20 .99% interest rate .

36 . Plaintiff was not only induced into obtaining a home equity line of credit at an

   exorbitant rate, Defendant, Citifinancial Services, Inc ., also induced the Plaintiff into

  purchasing various types of insurance, from the Defendant, with the home equity line of

  credit, including : Credit Life, Credit Disability, and unemployment insurance, which the

  Plaintiff did not understand he was getting, and resulted in the Plaintiff paying an

  additional $1,968 .83 in premium payments for the insurance coverage .



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37. Defendant Terrace Mortgage Company, assigned the $354,000 .00 mortgage to

   GMAC Mortgage, LLC .

38 . Plaintiff has a beneficial interest in the subject property which is estimated fair

   market value currently to be less than $330,000 .00 .

39. Due to the mortgage and home equity line of credit, and the house being

   significantly `upside down', i .e . debt on property is higher than market value, Plaintiff is

   unable to refinance .

40 . Defendants disregarded and ignored Plaintiff's actual ability to pay off the loans

   and steered Plaintiff to loans he could not afford to increase their own profit .

41 . The defendants induced Plaintiff to accept defendants' risky loan products by : (1)

  failing to clearly and conspicuously disclose whether stated monthly payments included

  amounts due for insurance and taxes, which they generally did not ; (2) failing to clearly

  and conspicuously disclose closing costs and fees ; (3) making false promises that

  defendants could refinance the loan prior to a rate increase ; (4) failing to disclose the true

  costs and risks associated with the false promise that refinancing would be available as an

  exit strategy when the defendants' loan became unaffordable ; (5) fraudulently promising

  that the value of the property would increase and therefore the Plaintiff could easily

  refinance their property, (6) steering Plaintiff away from safer, fixed rate, prime loans

  that they could afford in order to maximize their fees and profits ; (7) false marketing acts

  that were designed to mask the true costs and risks of the loans and to hide the benefits of

  other, safer, loan products, and inducing Plaintiffs to purchase insurance that was not

  necessary .

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                           COMPLAINT FOR DAMAGES AND EQUITAB L E RELI E F
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                                               COUNT I

   VIOLATION OF THE GEORGIA UNIFORM DECEPTIVE TRADE PRACTICES
                    ACT (AS TO ALL DEFENDANTS)


42 . Plaintiff realleges and incorporates by reference all paragraphs above, as though

   fully set forth in this cause of action .

43 . A person engages in a deceptive trade practice within the meaning of the Uniform

   Deceptive Practices Act (UDTPA) when he "causes a likelihood of confusion or of

   misunderstanding," misrepresentations are made concerning approval or certification of a

   product, the standard, quality or grade of a product is misrepresented, OR any other

   conduct exists that similarly creates a likelihood of confusion or misunderstanding .

   O. C .G.A. & 10-1-372(a)(2),(5),(7),(8),(12) .

44 . Defendants as mortgage lenders, by engaging in illegal activity in the practice of

   originating, transferring, assigning, selling and developing home mortgage loans in the

   general marketplace via misrepresentation and fraud, have committed deceptive trade

   practices in the state of Georgia in violation of O .C .G .A . § 10-1-370 et seq .

45 . Defendants' fraudulent acts, deliberately misleading and false statements, change

   of underwriting standards and their clearly predatory business model is undoubtedly

  likely to lead to confusion and misunderstanding . As a result of defendants' acts, there is

  likelihood of confusion and misunderstanding about the legitimacy of the RML sold by

  the defendants, the actual terms and conditions of the RML and their application to

  Plaintiff, and the dangerous and unnecessary risks of financial and emotional hardship

  in herent in the RM.I, that are unknowingly burdened by the consumer .

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46 . Defendants engaged in such deceptive trade practices for their wrongful profit,

   intentionally preying on the Plaintiffs and other consumers' limited access to

   information, understanding and capacity regarding the product the defendants designed,

   manufactured, and sold - the RML .

47 . Such practices included falsely promising that Plaintiff may refinance for an

   optimal fixed interest at a time of their choosing, falsely assuring the value of the

   property, and representing that the RML is approved based on Plaintiff's and the home's

   actual financial conditions even though the true primary standard was maximum resale

   value for the secondary market through exploitation of the Plaintiff .

48 . Plaintiff has been caused irreparable harm and great financial hardship due to

   Defendants' deceptive trade practices .

           WHEREFORE, Plaintiff prays for interlocutory and permanent injunctive relief as

   set forth below .

                                               COUNT 11

              VIOLATION OF THE GEORGIA RESIDENTIAL MORTGAGE ACT

49 . The Georgia Residential Mortgage Act (GRAMA) governs mortgage lenders and

  the manner in which they transact with borrowers by explicitly prohibiting acts . Yet

  these are the very acts that were committed by the Defendants .

50 . Defendants violated O .G .G .A . § 7-1-1013 (1) by misrepresenting the material

  facts, making false statements and promises, and submitting false statements and/or

  documents that influenced, persuaded, and induced the Plaintiff in their application for

  and execution of a mortgage loan, and, through agents or otherwise, pursued a course of

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   misrepresentation to the Plaintiff by use of fraudulent and/or unauthorized documents and

   other means .

51 . Defendants violated O .C.G .A. § 7-1-1013(2) by misrepresenting and concealing

   and causing another to misrepresent or conceal material factors, terms and conditions of

   the mortgage transaction to which defendants, mortgage lenders or brokers, were a party,

   pertinent to the Plaintiff or in the Plaintiff's application for a mortgage loan .

52 . Defendants violated O .C .G .A. § 7-1-1013(6) by engaging in transactions,

   practices, and course of business which were not in good faith or fair dealing, and which

   operated as a fraud uponn the Plaintiff, in connection with the attempted and actual

   making of, purchase of, transfer of, and sale of Plaintiff's mortgage loan .

53 . Defendants violated O .C .G .A . § 7-1-1013(7) by engaging in fraudulent home

   mortgage underwriting practices .

54 . Defendants violated O .C .G .A . § 7-1-1013 (9) by making, directly or indirectly, a

   residential mortgage loan with the intent to foreclose on the borrower's property . The

  presumption per the GRMA statue is met in that at the time loan was made, there

  were : (a) a lack of substantial benefit to the borrower ; (b) lack of probability of full

  payment of the loan by the borrower ; and (c) there exists a significant proportion of

  similarly foreclosed loans by the defendants per their unfair, fraudulent and deceptive

  acts practices, and systems .


55 . Defendants violated O .C .G .A . § 7-1-1013(10) collecting a mortgage debt by

  extortionate means, in that defendants do not have the right to collect on the illegal loan,




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   but have threatened negative credit reporting, declaration of default and foreclosure in an

   extortionist attempt to collect .

56 . Through their misrepresentations, concealment of material facts, fraudulent

   actions, and bad faith and predatory business practices set up to exploit the Plaintiff for

   the defendants' maximum profit, defendants acted with wanton disregard as to the benefit

   or harm to the Plaintiff in the making and servicing of the loan rampantly violated

   explicit statutory restrictions per the GRMA .

57. Furthermore, defendants' actions were intentional, oppressive, and with fraud or

   malice in conscious disregard of Plaintiff s consumer protection rights, thereby justifying

   the award of punitive damages in an amount to be proven at trial .

58 . Defendants' fraud has caused Plaintiff damage in an amount to be determined at

   trial . At a minimum, it includes the irreparable harm to Plaintiff's credit score and the

   amount overpaid by Plaintiff on the fraudulently obtained RML on the Subject Property .

           WHEREFORE, Plaintiff prays for judgment as set forth below .

                                           COUNT III

                           BREACH OF IMPUTED DUTY PER
                       GEORGIA FAIR BUSINESS PRACTICES ACT

59 . Under the Georgia Fair Business Practices Act, defendants owe a duty to the

  Plaintiff, as businesses availing themselves of the marketplace, to act with due care,

  diligence and good faith in developing, originating, marketing and selling their loan

  products .




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60 . Defendants breached their duty by deliberately leading Plaintiff into an

   unnecessarily costly loan, failing to properly assess the suitability of the loan as to the

   Plaintiff's ability to pay, artificially inflating the property value, failing to properly

   inform and explain actual terms, conditions, costs and risks of the loan, and maintaining a

   system of practice that rather than controlled, encouraged wanton and reckless conduct

   towards the Plaintiff in regards to the Loan .

61 . As direct a result of the defendants' breach, Plaintiff has been greatly harmed .

62 . Defendants' breach has caused Plaintiff damage in an amount to be determined at

   trial . At a minimum, it includes the irreparable harm to Plaintiffs credit score and the

   amount overpaid by Plaintiff on the fraudulently obtained RIvIL, on the Subject Property .

           WHEREFORE, Plaintiff prays for judgment as set forth below .

                                               CO UN T IV

                                            FRAUD
                                   (AS TO ALL DEFEND ANTS)

63 . Plaintiff realleges and incorporates by reference all paragraphs above, as though

   fully set forth in this cause of action .

64 . Defendants represented to Plaintiff that all the statements made to them in the

  origination and underwriting of the RML were true and that the value of the Subject

  Property which supported the loan was also true, while concealing defendants' scheme of

  conspiracy to exploit Plaintiff for maximizing profits on the secondary market .

  Defendants' actions and representations were false and defendants knew they were false

  and made such representations without regard to their truth .


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65 . When defendants made their false representations relating to the terms and

       conditions of the loan, the basis for the offering of such terms and conditions, and of the

       value of the property, defendants made them with the intent that Plaintiff would rely on

       them and sign the loan documents and secure the Subject Property for said loan .

66 . Defendants represented themselves as loan experts and represented their

       employees or third parties such as the appraiser as experts in the field . Plaintiff relied on

       defendants' representations and said reliance was reasonable due to defendants'

       advertisement, assertions, licensing and experience in the mortgage industry .

67. Plaintiff in turn did not have equal opportunity to discover the truth, and

       reasonably relied on defendants' misrepresentations to Plaintiff s detriment . Defendants

       fraudulently induced Plaintiff into the loan, and wrongfully extracted payments pursuant

       to a fraudulent note and security deed .

68 . Furthermore, defendants' actions were intentional, oppressive, and with fraud or

       malice in conscious disregard of Plaintiff's consumer protection rights, thereby justifying

       the award of punitive damages in an amount to be proven at trial .

69 .           Defendants' fraud has caused Plaintiff damage in an amount to be determined at

       trial . At a minimum, it includes the irreparable harm to Plaintiffs credit score and the

       amount overpaid by Plaintiff on the fraudulently obtained RML on the Subject Property .

              WHEREFORE, Plaintiff prays for judgment as set forth below .

                                                  COUNT V

                                   FRAUD IN THE INDUCEMENT
                                    (AS TO ALL DEFENDANTS)


                                                     19




                            COMPLAI NT FO R DAMAGES AND EQUITABLE RELIEF
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70 . Plaintiff realleges and incorporates by reference all paragraphs above, as though

   fully set forth in this cause of action .

71 . In order to induce the Plaintiff to agree to purchase unnecessary insurance and

   risky loans, the defendants made a series of fraudulent promises . These promises include

   but are not limited to statements about the increase in value of the property, the ease that

   refinancing would occur, the glossing over of actual monthly payments and the real costs

   and risks of high interest rate, and the assurance that the value of the property was fair

   and legitimate .

72. Plaintiff reasonably relied on defendants' representations and promises due to the

   fact that they were Lenders and mortgage brokers who were presented as experts in the

  field .

73 . Furthermore, defendants' action were intentional, oppressive, and with fraud or

  malice in conscious disregard of Plaintiff s consumer protection rights thereby justifying

  the award of punitive damages in an amount to be proven at trial .

74. Defendants' fraud has caused Plaintiff damage in an amount to be determined at

  trial . At a minimum, it includes irreparable harm to           Plaintif s credit score and the

  amount overpaid to defendants on the fraudulently obtained RMLs on the Subject

  Property .

  WHEREFORE, Plaintiff prays for judgment as set forth below;


                                               COUNT VI

                                        CONVERSION
                                  BAS TO ALL DEFENDANTS)

                                                  20



                         COMP LAINT FO R DAMAGES A N D EQU ITABLE RELIEF
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75. Plaintiff realleges and incorporates by reference all paragraphs above, as though

       fully set forth in this cause of action .

76. As mentioned previously, the defendants induced the Plaintiff to agree to the

       unnecessary insurance and risky loans through fraud, deceit, and unfair and deceptive

       business practices in violation of Georgia state law . Further, the defendants set an

       unjustly high monthly payment by artificially inflating the value of the property to

       fraudulently justify a larger mortgage .

77 .           By raising the monthly payment rate, the defendants extracted from the Plaintiff a

       higher amount than the Plaintiff legitimately should have paid . Further, as required by

       defendants' own policies, any payments made in excess of the amount owed should be

       applied directly to the principle of the account . The defendants violated Georgia state law

       and their own policies by applying the extra payments to interest that was not legitimately

       owed by the Plaintiff. The defendants improperly converted said funds of Plaintiff for

       their own use and benefit, thereby making more fraudulent, and risky loans to

       unsuspecting borrowers .

78 . The movies converted were specific as to source and trial . Defendants extracted

   specific mortgage payments from the Plaintiff's bank account for deposit into a debt

   account labeled as a RML for the Subject Property pursuant to an illegal loan, Defendants

   have committed unlawful conversion of Plaintiff's personal funds for their own unlawful

   use .




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                             COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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79. Furthermore, defendants' actions were intentional, oppressive, and with fraud or

      malice in conscious disregard of Plaintiffs legal rights as they committed conversion

   justifying the award of punitive damages in an amount to be proven at trial .

80.           Due to the defendants' conversion, Plaintiff has suffered severe financial

      hardship . Plaintiff has been damaged in the amount to be proven at trial .

              WHEREFORE, Plaintiff prays for judgment as set forth below .

                                                 COUNT VII

                                           QUIET TITLE
                                     (AS TO ALL DEFENDANTS)

81 . Plaintiff realleges and incorporate by reference all paragraphs above, as though

      fully set forth in this cause of action.

82. At all times herein, defendants committed acts of misrepresentations and fraud as

   to the terms of the loan, mortgage, and value of the property with the intent to exert

   undue influence .

83 . Plaintiff was under unfair persuasion amounting to undue influence because

   defendants positioned themselves in the market where the Plaintiff was justified in

  assuming that the defendants would not act in a manner inconsistent with Plaintiff's

  welfare and best interests .

84 . At all time herein, defendants gained unfair persuasion and undue influence by

  improper means including but not limited to misrepresentations, undue flattery, and

  fraud .




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85 . Defendants by fraud received an iniquitous deed to secure debt to the property for

   a loan that Plaintiff should not have given or been allowed to take . This loan would not

   have taken place but for defendants' wrongful conduct .

86. Furthermore, defendants' action were intentional, oppressive, and with fraud or

   malice in conscious disregard of Plaintiff's rights thereby justifying the award of punitive

   damages in the amount to be proven at trial

87. Defendants have created an illegal cloud on title . Plaintiff has suffered severe

   financial hardship as a result . Plaintiff requests that the court invalidate the deed of trust

   on the property .

   WHEREFORE, Plaintiff prays for judgment as set forth below ;

                                              COUNT VIII

                                     CIVIL CONSPIRACY
                                  (AS TO ALL DEFENDANTS)

8S . Plaintiff realleges and incorporates by reference all paragraphs above, as though

  fully set forth in this cause of action .

89 . Defendants, and each of them, agreed to form and operate a business relationship

  wherein the originator of the loan would process the loan application in a manner that

  each defendant knew or should have known was malicious, wrongful, and unlawful for

  the reasons stated in this complaint . The business relationship between the parties gave

  the originator of the loan the right to assign, sell or otherwise transfer said unlawfully

  originated loan to its fellow defendants, which each defendant would, in turn, acquire the

  right to sell, assign or otherwise transfer for a profit .


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90 . As a result of this conduct, defendants, and each of them, damaged Plaintiff in an

   amount to be proven at trial .

   ViHERFORE, Plaintiff prays for judgment as set forth below ;

                                              COUNT IX

   RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT CO
                    (AS TO ALL DEFENDANTS)


91 . Plaintiff realleges and incorporates by reference all paragraphs above, as though

   fully set forth in this cause of action.

92 . Defendants violated RICO pursuant to O .C.G .A. §16-14-1 et seq . Each time

   Plaintiff s fraudulent loans were refinanced, assigned and transferred ; each time Plaintiff

   loans were used as means to extract inflated payments from Plaintiff for the Defendants'

   benefit ; each time the profits generated from Plaintiff s loans were used to perpetuate

   further acts of fraud by issuing and selling more fraudulent loans throughout the state,

   defendants committed multiple predicate acts of fraud . Moreover, in order to perpetuate

   these multiple frauds, defendants used the mail in furtherance of their scheme .

93 . Due to the defendants' RICO violations, Plaintiff has suffered severe financial

  hardship . Plaintiff has been damaged in the amount to be proven at trial . Second,

  Plaintiff requests reasonable attorney fees and costs .

94 . WHEREFORE, Plaintiff prays for judgment as set forth below .

                                              COUNY X

               PETITION FOR INTERLOCUTORY INJUNCT IVE RELIEF
                            (AS T O ALL DEFENDANTS)


                                                24




                         COMPLAINT FOR D AMAG ES AND EQUITABLE RELIEF
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95.            Plaintiff realleges and incorporate by reference all paragraphs above, as though

       fully set forth in this cause of action .

96 .           Defendants are licensed institutional lending experts with the privilege of

       engaging the general marketplace for the sale of an exclusive service . And Defendants

       are given this privilege on the condition that they are held to a higher standard of

       regulatory compliance, fair practice, duty, conscience, expertise and competence, among

       others . Yet the defendants in this case have exploited their public privilege and engaged

       in systematic misconduct, reaping profits not only from the Plaintiff's home mortgage

       and HELOC, but from a larger scheme of profiteering off of illegal mortgages spanning

       over more than a decade, throughout the country . Plaintiffs case as alleged and to be

       proven at trial, leads to not only preclusion of strict enforcement of the security deed, but

   also will likely result in permanent injunction and damages both actual and punitive

       against the Defendants.

97 . The Plaintiff has made multiple clear and convincing cause of actions in which

   the Plaintiff is likely to succeed . Those arguments, including arguments for fraud, fraud

   in the inducement, deceptive business practices, and others, are factually supported and

   are likely to lead to a decision in favor of Plaintiff . On this ground alone, the court may

   grant the temporary restraining order as permitted under O .C .G .A . W -5-1 and 9-11-65 .

98 . Defendants threate ned wrongful conduct to foreclose and sell the property to a

   third party, unless and until enjoined and restrained by order of this court, will cause

   great and irreparable injury to Plaintiff by the foreclosure and forced sale of the property .

   The Subject Property is not just property but home to the Plaintiff, the wrongful loss of

                                                     25




                             COMPLAINT FOR DAMAGES AND EQUITABLE RELIEF
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        which is unique and cannot be adequately remedied at law . Further, any foreclosure and

        forced sale of the property will reduce the value of the property and jeopardize Plaintiff's

        interest in the Property . On this ground alone, the court may grant the temporary

        restraining order as permitted under O.C .G .A.-§L9-5-1 and 9-11-65 .

     99. Plaintiff has no adequate remedy at law for the injuries that are threatened as a

        foreclosure and forced sale would wrongfully deprive Plaintiff of their property rights,

        create extensive disruption and harm in every aspect of Plaintiff s life, and reduce

        Plaintiffs equity interest in the property . On this ground alone, the court may grant the

        temporary restraining order as permitted under O .C,G .A . §§ 9-5-1 and 9-11-65 .

   100 . As a proximate result of defendants' wrongful conduct, Plaintiff equity interest

        and potential sale has been totally lost . Plaintiff will be further damaged if defendants are

        allowed to proceed with the sale of the foreclosed property . The full amount of this

        damage is not now known to Plaintiff, and Plaintiff will amend this complaint to state this

        amount when it becomes known to them or on proof of the damages .

   101 . An interlocutory injunction enjoining defendants from foreclosure upon the

        Subject Property maintains the status quo, prevents perpetuation of irreparable harm and

        further tortuous acts, serves the principals of justice and equity, and is strongly supported

       as to the merits under the facts and legal arguments outlined herein .

       WHEREFORE, Plaintiff prays for interlocutory injunctive relief to enjoin Defendants

from foreclosing on the Subject Property .

AS TO ALL CAUSES OF ACTION PLAINTIFF PRAY FOR JUDGMENT AS

FOLLOWS :

                                                      26




                              COMPLAINT FO R DAMAGES A N D EQUITABLE RELIEF
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1 . Pursuant to O .C .G.A . § i0-1-372, et ..,seq
                                                that all defendants, their employees,

      agents, representatives, successors, assigns, and all persons who act in concert with

      them be permanently enjoined from making any untrue or misleading statements or

      falsely reporting negative credit to reporting agencies .

2. Pursuant to O .C .G .A. § 10-1-372, et . seq ., that the Court make such orders or

      judgments as may be necessary to prevent the use or employment by any defendant of

      any practices which violate, or which may be necessary to restore to any person

      interest any money or property, real or personal, which may have been acquired by

      means of any such practices

3 . Pursuant to O .C .G .A . § 10-1-372, et . seq ., that this court make such order or

     judgments as may be necessary to prevent the use of employment by any defendant of

      any practice which constitutes a deceptive trade practice or as may be necessary to

      restore to any person in interest any money or property, real or personal, which may

      have been acquired by means of such unlawful actions .

4. Damages sustained by the Plaintiff due to defendants wrongful acts in excess of the

     jurisdictional limits in an amount to be proven at trial ;

5 . For rescission ;

6 . For interest on the sum at the rate of 10% per annum;

7 . For punitive damages against Defendants due to their intentional and wrongful acts ;

8 . That Plaintiff recover reasonable attorneys fees and for to recover its cost of suit ;

9. For such other relief that the Court deems just, proper, and equitable .



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                        CO M PLAINT FOR DAMAGES AND EQUITABLE RELIEF
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DATED : May 12, 2009                              RespectfuW S ubmitted,




                                                       1jU.hAJ)14/y0
                                                  IRENE KIM, ES
                                                  Bar # 141924
                                                  Geerdes and Kim, LLC
                                                  3483 Satellite Blvd .
                                                  Duluth, Georgia 30096
                                                  404-257-1777
                                                  404-257-1O50(fax)
                                                  ATTORNEY FOR PLAINTIFF




                                           28




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                 IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                      136 PRYOR STREET, ROOM C -103 , ATLANTA , GEORGIA 30303
                                                         S UMMON S


                                                                                   case No . :      Z n () !A L- l1 t ~ ) O ~ §-


                              Plaintiff,
           vs.




                             Defendan t



TO "TTY ABOVE NAMED DEFENDANT(S ) :

Your are hereby summoned and required to file w i th the Clerk of said Court and s erve upon plaintiffs
attorney , who se name and address is :




An answer to the complaint which is herewith served upon you, within 30 days after service of this

summons upon you, exclusive of the day of service . IF YOU FALL TO DO SO, JUDGMENT B Y

DEFAULT W ILL BE TA K EN AGAINST YOU FOR TH E RELIEF DEMAN D E D I N THE

C OMPL AINT .

This I '?-                                               day of                                  120 0 1


                                                                                                       Honorable Cathelene " Tina " Rob inson
                                                                                                       Clerk of S perior Court


                                                                                                       By
                                                                                                                          Dep C erk
To defendant upon whom this petition is served :

This copy of complaint and summons was served upon you_ 20



                                                                                                  Deputy Sherriff



Instructions : Atta ch addendum sheet for addi tio na l par ti es if needed, make notation on this sheet if adden dum is u sed
